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  10
  11                       UNITED STATES DISTRICT COURT
  12                      CENTRAL DISTRICT OF CALIFORNIA
  13                                SOUTHERN DIVISION
  14
        JANE DOE on behalf of herself and all    Case No. 8:21-cv-00338-CJC-ADS
  15    others similarly situated,
                                                 Hon. Cormac J. Carney
  16                       Plaintiff,
        v.                                       DISCOVERY DOCUMENT:
  17                                             REFERRED TO MAGISTRATE
        MINDGEEK USA INCORPORATED,               JUDGE AUTUMN D. SPAETH
  18    MINDGEEK S.A.R.L., MG
        FREESITES, LTD (D/B/A PORNHUB), STIPULATED PROTECTIVE
  19    MG FREESITES II, LTD, MG        ORDER
        CONTENT RT LIMITED, AND 9219-
  20    1568 QUEBEC, INC. (D/B/A
        MINDGEEK),
  21                   Defendants.
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 1

 2   1.     A.     PURPOSES AND LIMITATIONS

 3          Discovery in this action is likely to involve production of confidential,

 4   proprietary, or private information for which special protection from public disclosure

 5   and from use for any purpose other than prosecuting this litigation may be warranted.

 6   Accordingly, the parties hereby stipulate to and petition the Court to enter the following

 7   Stipulated Protective Order. The parties acknowledge that this Order does not confer

8    blanket protections on all disclosures or responses to discovery and that the protection

 9   it affords from public disclosure and use extends only to the limited information or

10   items that are entitled to confidential treatment under the applicable legal principles.

11   The parties further acknowledge, as set forth in Section 12.3, below, that this Stipulated

12   Protective Order does not entitle them to file confidential information under seal; Civil

13   Local Rule 79-5 sets forth the procedures that must be followed and the standards that

14   will be applied when a party seeks permission from the Court to file material under

15   seal. Specifically, the parties acknowledge that they must comply with Civil Local Rule

16   79-5.2.2(b) with respect to any documents marked as Confidential pursuant to this

17   Stipulated Protective Order.

18          B.     GOOD CAUSE STATEMENT

19          This action is likely to involve trade secrets, customer data and other valuable

20   research, development, commercial, financial, technical and/or proprietary

21   information for which special protection from public disclosure and from use for any

22   purpose other than prosecution of this action is warranted. Such confidential and

23   proprietary materials and information consist of, among other things, confidential

24   business or financial information, information regarding confidential business


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 1   practices, or other confidential research, development, or commercial information

 2   (including information implicating privacy rights of third parties), system design,

 3   database design, algorithms, technology, technical data or information, vendor

 4   agreements, personnel files, claim/litigation information, nonpublic policies and

 5   procedures, personal identifying information, sensitive personal information,

 6   information otherwise generally unavailable to the public, or which may be privileged

 7   or otherwise protected from disclosure under state, federal, or foreign statutes, court

8    rules, case decisions, or common law (including but not limited to California Consumer

 9   Privacy Act, EU’s General Data Protection Regulation, Canada’s Consumer Privacy

10   Protection Act, and Quebec’s Act Respecting The Protection Of Personal Information In

11   The Private Sector), or any other information that a party is obligated to preserve as

12   confidential, and all information compiled, derived, excerpted, or generated from such

13   materials. Accordingly, to expedite the flow of information, to facilitate the prompt

14   resolution of disputes over confidentiality of discovery materials, to adequately protect

15   information the parties are entitled or required to keep confidential, to ensure that the

16   parties are permitted reasonable necessary uses of such material in preparation for and

17   in the conduct of trial, to address their handling at the end of the litigation, and serve

18   the ends of justice, a protective order for such information is justified in this matter. It

19   is the intent of the parties that information will not be designated as confidential for

20   tactical reasons and that nothing be so designated without a good faith belief that it has

21   been maintained in a confidential, non-public manner, and there is good cause why it

22   should not be part of the public record of this case.

23   2.     DEFINITIONS

24          2.1.   Action: this pending federal law suit.


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 1          2.2.   Challenging Party: a Party or Non-Party that challenges the designation

 2   of information or items under this Order.

 3          2.3.   “CONFIDENTIAL” Information or Items: information (regardless of how

 4   it is generated, stored or maintained) or tangible things that qualify for protection

 5   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause

 6   Statement.

 7          2.4.   Counsel: Outside Counsel of Record and House Counsel (as well as their

8    support staff).

 9          2.5.   Designating Party: a Party or Non-Party that designates information or

10   items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

11          2.6.   Disclosure or Discovery Material: all items or information, regardless of

12   the medium or manner in which it is generated, stored, or maintained (including,

13   among other things, testimony, transcripts, and tangible things), that are produced or

14   generated in disclosures or responses to discovery in this matter.

15          2.7.   Expert: a person with specialized knowledge or experience in a matter

16   pertinent to the litigation who has been retained by a Party or its counsel to serve as an

17   expert witness or as a consultant in this Action.

18          2.8.   House Counsel: attorneys who are employees of a party to this Action.

19   House Counsel does not include Outside Counsel of Record or any other outside

20   counsel.

21          2.9.   Non-Party: any natural person, partnership, corporation, association, or

22   other legal entity not named as a Party to this action.

23          2.10. Outside Counsel of Record: Attorneys who are not employees of a party

24   to this Action but are retained to represent or advise a party to this Action or are


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 1   affiliated with a law firm which has appeared on behalf of that party, and includes

 2   support staff.

 3          2.11.     Party: any party to this Action, including all of its (a) officers, directors or

 4   their equivalent under foreign law, the current majority shareholder and their outside

 5   litigation counsel as identified by Defendants’ counsel; (b) employees, consultants,

 6   retained experts; and (c) Outside Counsel of Record (and their support staffs).

 7          2.12. Privileged Material: any Disclosure or Discovery Material that is, or that

8    the Producing Party asserts is, protected from disclosure by a privilege or other

 9   immunity from discovery, including without limitation, the attorney-client privilege,

10   the work product privilege, or the joint defense or common interest privilege.

11          2.13      Producing Party: a Party or Non-Party that produces Disclosure or

12   Discovery Material in this Action.

13          2.14. Professional Vendors: persons or entities that provide litigation support

14   services (e.g., photocopying, videotaping, translating, preparing exhibits or

15   demonstrations, and organizing, storing, or retrieving data in any form or medium)

16   and their employees and subcontractors.

17          2.15. Protected Material: any Disclosure or Discovery Material that is

18   designated as “CONFIDENTIAL,” including all copies, electronic images, duplicates,

19   extracts, summaries, or descriptions that are generated from or contain information

20   obtained from any Disclosure or Discovery Material that is designated as

21   “CONFIDENTIAL.”

22          2.16. Receiving Party: a Party that receives Disclosure or Discovery Material

23   from a Producing Party.

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 1   3.     SCOPE

 2          The protections conferred by this Stipulation and Order cover not only Protected

 3   Material (as defined above), but also (a) any information copied or extracted from

 4   Protected Material; (b) all copies, excerpts, summaries, or compilations of Protected

 5   Material; and (c) any testimony, conversations, or presentations by Parties or their

 6   Counsel that might reveal Protected Material.

 7          Any use of Protected Material at trial shall be governed by the orders of          the

8    trial judge. This Order does not govern the use of Protected Material at trial.

 9   4.     DURATION

10          Even after final disposition of this litigation, the confidentiality obligations

11   imposed by this Order shall remain in effect until a Designating Party agrees otherwise

12   in writing or a court order otherwise directs. Final disposition shall be deemed to be

13   the later of (a) dismissal of all claims and defenses in this Action, with or without

14   prejudice; and (b) final judgment herein after the completion and exhaustion of all

15   appeals, rehearings, remands, trials, or reviews of this Action, including the time limits

16   for filing any motions or applications for extension of time pursuant to applicable law.

17   Nothing in this Order shall be construed as an agreement by any Party as to whether

18   any other Party will be able to demonstrate good cause to seal any material in any filing

19   on the docket or at trial.

20   5.     DESIGNATING PROTECTED MATERIAL

21          5.1.   Exercise of Restraint and Care in Designating Material for Protection.

22   Each Party or Non-Party that designates information or items for protection under this

23   Order must take care to limit any such designation to specific material that qualifies

24   under the appropriate standards.


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 1          Mass, indiscriminate, or routinized designations are prohibited. Designations

 2   that are shown to be clearly unjustified or that have been made for an improper

 3   purpose (e.g., to unnecessarily encumber the case development process or to impose

 4   unnecessary expenses and burdens on other parties) may expose the Designating Party

 5   to sanctions.

 6          If it comes to a Designating Party’s attention that information or items that it

 7   designated for protection do not qualify for protection, that Designating Party must

8    promptly notify all other Parties that it is withdrawing the inapplicable designation.

 9          5.2.     Manner and Timing of Designations. Except as otherwise provided in

10   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise

11   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection

12   under this Order must be clearly so designated before the material is disclosed or

13   produced. For the avoidance of doubt, nothing in this Order shall be construed as an

14   agreement by any Party about what can or should be sealed from public filings or at

15   trial, but rather how a Receiving Party will treat materials produced to it or generated

16   in this case. Nothing in this Section shall be construed as a waiver of any Party’s right

17   to challenge confidentiality designations, motions to seal, or any Party’s attempt to seal

18   material at trial.

19          Designation in conformity with this Order requires:

20                   (a)   For information in documentary form (e.g., paper or electronic

21   documents, but excluding transcripts of depositions or other pretrial or trial

22   proceedings), that the Producing Party affix at a minimum, the legend

23   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that contains

24   Protected Material.


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 1            A Party or Non-Party that makes original documents available for inspection

 2   need not designate them for protection until after the inspecting Party has indicated

 3   which documents it would like copied and produced. During the inspection and before

 4   the designation, all of the material made available for inspection shall be deemed

 5   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants

 6   copied and produced, the Producing Party must determine which documents, or

 7   portions thereof, qualify for protection under this Order. Then, before producing the

8    specified documents, the Producing Party must affix the “CONFIDENTIAL legend” to

 9   each page that contains Protected Material.

10                  (b)    For testimony given in depositions that the Designating Party may

11   either

12                         (i) identify the Disclosure or Discovery Material on the record,

13   before the close of the deposition all protected testimony; or

14                         (ii) designate the entirety of the testimony at the deposition as

15   “Confidential” (before the deposition is concluded) with the obligation to identify

16   specific portions of the testimony as to which protection is sought within 30 days

17   following receipt of the deposition transcript.

18                  (c)    For information produced in some form other than documentary

19   and for any other tangible items, that the Producing Party affix in a prominent place on

20   the exterior of the container or containers in which the information is stored the legend

21   “CONFIDENTIAL.” If only a portion or portions of the information warrants

22   protection, the Producing Party, to the extent practicable, shall identify the protected

23   portion(s).

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 1            5.3.   Inadvertent Failure to Designate. If timely corrected, an inadvertent

 2   failure to designate qualified information or items does not, standing alone, waive the

 3   Designating Party’s right to secure protection under this Order for such material. Upon

 4   timely correction of a designation, the Receiving Party must make reasonable efforts to

 5   assure that the material is treated in accordance with the provisions of this Order.

 6   6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS

 7            6.1.   Timing of Challenges. Any Party or Non-Party may challenge a

8    designation of confidentiality at any time that is consistent with the Court’s Scheduling

 9   Order.

10            6.2.   Meet and Confer. The Challenging Party shall initiate the dispute

11   resolution process under Local Rule 37.1 et seq. or follow the procedures for informal,

12   telephonic discovery hearings on the Court’s website.

13            The burden of persuasion in any such challenge proceeding shall be on the

14   Designating Party. Frivolous challenges, and those made for an improper purpose

15   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may

16   expose the Challenging Party to sanctions. Unless the Designating Party has waived or

17   withdrawn the confidentiality designation, all parties shall continue to afford the

18   material in question the level of protection to which it is entitled under the Producing

19   Party’s designation until the Court rules on the challenge.

20   7.       ACCESS TO AND USE OF PROTECTED MATERIAL

21            7.1.   Basic Principles. A Receiving Party may use Protected Material that is

22   disclosed or produced by another Party or by a Non-Party in connection with this

23   Action only for prosecuting, defending, or attempting to settle this Action. Such

24   Protected Material may be disclosed only to the categories of persons and under the


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 1   conditions described in this Order. When the Action has been terminated, a Receiving

 2   Party must comply with the provisions of section 13 below (FINAL DISPOSITION).

 3          Protected Material must be stored and maintained by a Receiving Party at a

 4   location and in a secure manner that ensures that access is limited to the persons

 5   authorized under this Order.

 6          7.2.   Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

 7   ordered by the Court or permitted in writing by the Designating Party, a Receiving

8    Party may disclose any information or item designated “CONFIDENTIAL” only to:

 9                 (a)    the Receiving Party’s Outside Counsel of Record in this Action, as

10   well as employees of said Outside Counsel of Record to whom it is reasonably necessary

11   to disclose the information for this Action;

12                 (b)    the officers, directors and/or their equivalent under foreign law,

13   and the current majority shareholder of the Receiving Party and their outside litigation

14   counsel, as identified by Defendants’ counsel; to whom disclosure is reasonably

15   necessary for this Action;

16                 (c)    the employees (including House Counsel) of the Receiving Party to

17   whom disclosure is reasonably necessary for this Action;

18                 (d)    experts (as defined in this Order) of the Receiving Party to whom

19   disclosure is reasonably necessary for this Action and who have signed the

20   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

21                 (e)    the Court and its personnel;

22                 (f)    Court reporters and their staff;

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 1                (g)    professional jury or trial consultants, mock jurors, and

 2   Professional Vendors to whom disclosure is reasonably necessary for this Action and

 3   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 4                (h)    the author or recipient of a document containing the information

 5   or a custodian or other person who otherwise possessed or knew the information;

 6                (i)    during their depositions, witnesses, and attorneys for witnesses, in

 7   the Action to whom disclosure is reasonably necessary provided: (1) the deposing party

8    requests that the witness sign the form attached as Exhibit A hereto; and (2) they will

 9   not be permitted to keep any confidential information unless they sign the

10   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed

11   by the Designating Party or ordered by the Court. Pages of transcribed deposition

12   testimony or exhibits to depositions that reveal Protected Material may be separately

13   bound by the court reporter and may not be disclosed to anyone except as permitted

14   under this Stipulated Protective Order; and

15                (j)    any mediator or settlement officer, and their supporting personnel,

16   mutually agreed upon by any of the parties engaged in settlement discussions.

17   8.    PROTECTED MATERIAL SUPOENAED OR ORDERED PRODUCED
           IN OTHER LITIGATION
18
           If a Party is served with a subpoena or a court order issued in other litigation
19
     that compels disclosure of any information or items designated in this Action as
20
     “CONFIDENTIAL,” that Party must:
21
                  (a)    Promptly notify in writing the Designating Party. Such notification
22
     shall include a copy of the subpoena or court order;
23

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 1                 (b)     Promptly notify in writing the party who caused the subpoena or

 2   order to issue in the other litigation that some or all of the material covered by the

 3   subpoena or order is subject to this Protective Order. Such notification shall include a

 4   copy of this Stipulated Protective Order; and

 5                 (c)     Cooperate with respect to all reasonable procedures sought to be

 6   pursued by the Designating Party whose Protected Material may be affected.

 7          If the Designating Party timely seeks a protective order, the Party served with

8    the subpoena or court order shall not produce any information designated in this action

 9   as “CONFIDENTIAL” before a determination by the Court from which the subpoena or

10   order issued, unless the Party has obtained the Designating Party’s permission. The

11   Designating Party shall bear the burden and expense of seeking protection in that court

12   of its confidential material and nothing in these provisions should be construed as

13   authorizing or encouraging a Receiving Party in this Action to disobey a lawful directive

14   from another court.

15   9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
            PRODUCED IN THIS LITIGATION
16
            9.1    The terms of this Order are applicable to information produced by a Non-
17
     Party in this Action and designated as “CONFIDENTIAL.” Such information produced
18
     by Non-Parties in connection with this litigation is protected by the remedies and relief
19
     provided by this Order. Nothing in these provisions should be construed as prohibiting
20
     a Non-Party from seeking additional protections.
21
            9.2    In the event that a Party is required, by a valid discovery request, to
22
     produce a Non-Party’s confidential information in its possession, and the Party is
23

24


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 1   subject to an agreement with the Non-Party not to produce the Non-Party’s

 2   confidential information, then the Party shall:

 3                 (a)    promptly notify in writing the Requesting Party and the Non-Party

 4   that some or all of the information requested is subject to a confidentiality agreement

 5   with a Non-Party;

 6                 (b)    promptly provide the Non-Party with a copy of the Stipulated

 7   Protective Order in this Action, the relevant discovery request(s), and a reasonably

8    specific description of the information requested; and

 9                 (c)    make the information requested available for inspection by the

10   Non-Party, if requested.

11          9.3.   If the Party or Non-Party fails to seek a protective order from this court

12   within 14 days of receiving the notice and accompanying information, the Receiving

13   Party may produce the Non-Party’s confidential information responsive to the

14   discovery request. If the Non-Party timely seeks a protective order, the Receiving Party

15   shall not produce any information in its possession or control that is subject to the

16   confidentiality agreement with the Non-Party before a determination by the court.

17   Absent a court order to the contrary, the Non-Party shall bear the burden and expense

18   of seeking protection in this court of its Protected Material.

19   10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

20          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

21   Protected Material to any person or in any circumstance not authorized under this

22   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing

23   the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve

24   or cause the deletion of all unauthorized copies of the Protected Material, (c) inform the


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 1   person or persons to whom unauthorized disclosures were made of all the terms of this

 2   Order, and (d) request such person or persons to execute the “Acknowledgment and

 3   Agreement to Be Bound” that is attached hereto as Exhibit A.

 4   11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
            PROTECTED MATERIAL
 5
            The inadvertent production of privileged or work-product protected documents,
 6
     electronically stored information (“ESI”) or information is not on its own a waiver of
 7
     the privilege or protection from discovery in this case or in any other federal or state
8
     proceeding. If the Receiving Party has reason to believe that a produced document or
 9
     other information may reasonably be subject to a claim of privilege, then the Receiving
10
     Party shall immediately sequester the document or information, and shall inform the
11
     Producing Party of the beginning BATES number of the document or, if no BATES
12
     number is available, shall otherwise inform the producing party of the information.
13
            Any Party or non-Party that inadvertently discloses or produces a Document,
14
     ESI, or information that it considers privileged or otherwise protected from discovery
15
     will, promptly upon discovery of the disclosure or production, give notice to the
16
     Receiving Party, identifying the document, ESI, or information in question; the
17
     asserted privilege or protection; and the grounds therefor.
18
            Upon receipt of notice of the assertion of privilege or protection over produced
19
     over documents, ESI, or information, the Receiving Party will:
20
                   (a)    to whatever extent it contests the assertion of privilege or
21
     protection, promptly so notify the Producing Party or non-party, and maintain the
22
     contested documents and ESI in confidence pending resolution of the contest by the
23
     parties or the Court; and
24


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 1                  (b)   to whatever extent the Receiving Party does not contest the

 2   assertion of privilege or protection, promptly certify in writing to the Producing Party

 3   or non-party that it has returned or destroyed the applicable document(s), ESI, and/or

 4   information, and has made reasonably diligent efforts to identify and destroy each copy

 5   thereof and all information derived therefrom.

 6          In the event of a contested assertion of privilege or protection over produced

 7   documents that cannot be resolved amicably after meeting and conferring in good faith,

8    the Receiving Party may seek resolution of the matter in accordance with Court’s Local

 9   Rules and the Federal Rules of Civil Procedure, including by seeking in camera review.

10   12.    MISCELLANEOUS

11          12.1.   Right to Further Relief. Nothing in this Order abridges the right of any

12   person to seek its modification by the Court in the future.

13          12.2. Right to Assert Other Objections. By stipulating to the entry of this

14   Protective Order no Party waives any right it otherwise would have to object to

15   disclosing or producing any information or item on any ground not addressed in this

16   Stipulated Protective Order. Similarly, no Party waives any right to object on any

17   ground to use in evidence of any of the material covered by this Protective Order.

18          12.3. Filing Protected Material. A Party that seeks to file under seal any

19   Protected Material must comply with Civil Local Rule 79-5. Protected Material may

20   only be filed under seal pursuant to a court order authorizing the sealing of the specific

21   Protected Material at issue. If a Party's request to file Protected Material under seal is

22   denied by the Court, then the Receiving Party may file the information in the public

23   record unless otherwise instructed by the Court.

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 1          12.4   Plaintiff’s Identity. Nothing in this Order shall alter the Court’s Protective

 2   Order governing disclosure to and by Defendants of the identity of Plaintiff Jane Doe

 3   and any future named plaintiffs.

 4   13.    FINAL DISPOSITION

 5          After the final disposition of this Action, as defined in section 4, within 60 days

 6   of a written request by the Designating Party, each Receiving Party must return all

 7   Protected Material to the Producing Party or destroy such material. As used in this

8    subdivision, “all Protected Material” includes all copies, abstracts, compilations,

 9   summaries, and any other format reproducing or capturing any of the Protected

10   Material. Whether the Protected Material is returned or destroyed, the Receiving Party

11   must submit a written certification to the Producing Party (and, if not the same person

12   or entity, to the Designating Party) by the 60 day deadline that (a) identifies (by

13   category, where appropriate) all the Protected Material that was returned or destroyed

14   and (b) affirms that the Receiving Party has not retained any copies, abstracts,

15   compilations, summaries or any other format reproducing or capturing any of the

16   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an

17   archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,

18   legal memoranda, correspondence, deposition and trial exhibits, expert reports,

19   attorney work product, and consultant and expert work product, even if such materials

20   contain Protected Material. Any such archival copies that contain or constitute

21   Protected Material remain subject to this Protective Order as set forth in Section 4

22   (DURATION).

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 1         Any violation of this Order may be punished by any and all appropriate

 2   measures including, without limitation, contempt proceedings and/or monetary

 3   sanctions.

 4   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 5
     Dated: October 26, 2021                /s/ Halley Josephs
 6                                          Attorney(s) for Plaintiff(s)

 7
     Dated: October 26, 2021                /s/ Kathleen N. Massey
8                                           Attorney(s) for Defendant(s)

 9
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
10

11   Dated: November 2, 2021                   /s/ Autumn D. Spaeth
                                            HONORABLE AUTUMN D. SPAETH
12                                          United States Magistrate Judge

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 1                                EXHIBIT A
                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 2

 3           I,                                  [print or type full name], of

 4                         [print or type full address], declare under penalty of perjury that I

 5   have read in its entirety and understand the Stipulated Protective Order that was issue

 6   by the United States District Court for the Central District of California on [DATE] in

 7   the case of                                 [insert formal name of the case and the

8    number and initials assigned to it by the Court]. I agree to comply with and to be

 9   bound by all the terms of this Stipulated Protective Order and I understand and

10   acknowledge that failure to so comply could expose me to sanctions and punishment in

11   the nature of contempt. I solemnly promise that I will not disclose in any manner any

12   information or item that is subject to this Stipulated Protective Order to any person or

13   entity except in strict compliance with the provisions of this Order.

14           I further agree to submit to the jurisdiction of the United States District Court

15   for the Central District of California for the purpose of enforcing the terms of this

16   Stipulated Protective Order, even if such enforcement proceedings occur after

17   termination of this action. I hereby appoint                                    [print or

18   type full name] of                                  [print or type full address and

19   telephone number] as my California agent for service of process in connection with this

20   action or any proceedings related to enforcement of this Stipulated Protective Order.

21   Date:

22   City and State where sworn and signed:

23   Printed Name:

24   Signature:


                                                    17
